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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION
                                 AT LEXINGTON

JAMES TOMLINS,                                      CIVIL ACTION NO. 5:12-110-KKC
       Plaintiff,

V.                                                                 ORDER

CREDIT BUREAU SYSTEMS, INC.,
       Defendant.


                                          *** *** ***

     The Complaint in this matter was filed on April 11, 2012. As of this date, service has

not been made upon the defendant. WHEREFORE, it is hereby ordered that this matter is

dismissed for lack of prosecution and that the clerk shall strike it from the docket.

     Dated October 15, 2014.
